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                                      EXHIBIT A

                                       Transfers




{1368.002-W0069845.}
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Alameda Research, Ltd. v. Voyager Digital, LLC; HTC Trading Inc.                                                                                                                Exhibit A




                                                            Transfers Made to the Defendants during the Avoidance Period


                                                                                                                                                                  Value at
                                                                                                                               Valuation        Opening         Transfer Date
       Date               Transferor                               Transferee                   Asset        Quantity            Date           Price[1]           (USD)
    August Interest Payment:
     8/15/2022       Alameda Research, Ltd.          Voyager Digital, LLC / HTC Trading, Inc.   VGX             1,698.630137   8/15/2022   $    0.325207 $                 552
     8/15/2022       Alameda Research, Ltd.          Voyager Digital, LLC / HTC Trading, Inc.    LTC              275.178082   8/15/2022       63.305836                17,420
     8/15/2022       Alameda Research, Ltd.          Voyager Digital, LLC / HTC Trading, Inc.   LINK            3,057.534247   8/15/2022        8.775111                26,830
     8/15/2022       Alameda Research, Ltd.          Voyager Digital, LLC / HTC Trading, Inc.   DOGE        1,121,095.890411   8/15/2022        0.081698                91,591
     8/15/2022       Alameda Research, Ltd.          Voyager Digital, LLC / HTC Trading, Inc.   SAND           39,535.616438   8/15/2022        1.341001                53,017
     8/15/2022       Alameda Research, Ltd.          Voyager Digital, LLC / HTC Trading, Inc.   LUNC            6,836.986301   8/15/2022        0.000100                     1
     8/15/2022       Alameda Research, Ltd.          Voyager Digital, LLC / HTC Trading, Inc.    ETH              921.506849   8/15/2022    1,936.760498             1,784,738
     8/15/2022       Alameda Research, Ltd.          Voyager Digital, LLC / HTC Trading, Inc.   USDC          424,657.534247   8/15/2022        0.999882               424,607
     8/15/2022       Alameda Research, Ltd.          Voyager Digital, LLC / HTC Trading, Inc.    BTC               33.123288   8/15/2022   24,318.316410               805,503
                                                                                                                                                         $           3,204,260

    September Transfers:
     9/6/2022       Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.   VGX        2,000,000.000000     9/6/2022   $       0.569791 $        1,139,582
     9/6/2022       Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.    LTC          81,000.000000     9/6/2022          60.413952          4,893,530
     9/6/2022       Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.   LINK         600,000.000000     9/6/2022           7.367953          4,420,772
     9/6/2022       Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.   DOGE     220,000,000.000000     9/6/2022           0.062750         13,805,000
     9/6/2022       Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.   SAND       4,900,000.000000     9/6/2022           0.956607          4,687,374
     9/6/2022       Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.   LUNC         700,000.000000     9/6/2022           0.000403                282
     9/6/2022       Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.    ETH         105,000.000000     9/6/2022       1,617.240234        169,810,225
     9/6/2022       Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.   USDC      50,000,000.000000     9/6/2022           0.999900         49,995,000
                                                                                                                                                            $      248,751,765

    October Transfers:
    10/17/2022      Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.   ETH           50,000.000000    10/17/2022 $ 1,306.309570 $          65,315,479
    10/17/2022      Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.   BTC            6,500.000000    10/17/2022 19,268.562500            125,245,656
                                                                                                                                                         $         190,561,135

    Outstanding Loan Fees:
    10/17/2022      Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.   VGX            1,972.600137    10/17/2022 $     0.397441 $                 784
    10/17/2022      Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.    LTC             319.558082    10/17/2022      51.474899                16,449
    10/17/2022      Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.   LINK           3,550.684247    10/17/2022       7.175030                25,476
    10/17/2022      Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.   DOGE       1,301,917.810000    10/17/2022       0.058913                76,700
    10/17/2022      Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.   SAND          45,912.326440    10/17/2022       0.777683                35,705
    10/17/2022      Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.   LUNC           7,939.726301    10/17/2022       0.000263                     2
    10/17/2022      Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.    ETH           1,204.386849    10/17/2022   1,306.309570             1,573,302
    10/17/2022      Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.   USDC         493,150.684200    10/17/2022       0.999961               493,131
    10/17/2022      Alameda Research, Ltd.           Voyager Digital, LLC / HTC Trading, Inc.    BTC              53.423288    10/17/2022 19,268.562500              1,029,390
                                                                                                                                                         $           3,250,940

    Total Transfers Made to the Defendants during the Avoidance Period                                                                                      $      445,768,100


Notes
[1] Daily Opening Price in USD per Yahoo! Finance (https://finance.yahoo.com/lookup).
